            Case 1:17-cv-01167-JEB Document 84 Filed 05/07/19 Page 1 of 2



                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



 CABLE NEWS NETWORK, INC.,
                                                      Civil Action No. 1:17-cv-01167-JEB
        Plaintiff,
 v.
 FEDERAL BUREAU OF INVESTIGATION,

        Defendant.



   NOTICE IN RESPONSE TO THE COURT’S MINUTE ORDER OF APRIL 18, 2019

       In response to the Court’s minute order of April 18, 2019, the Federal Bureau of

Investigation states as follows:

       1.      The release of the Report on the Investigation into Russian Interference in the

2016 Presidential Election by the Special Counsel (“Report”) does not alter the FBI’s position

with regard to the remaining redactions in the Comey Memos. Those portions remain classified

and continue to be withheld for the reasons set forth in the FBI’s summary judgment motion

(ECF No. 69), as modified with regard to redaction block 19 by the notice filed by the FBI on

April 8, 2019 (ECF No. 79).

       2.      The release of the Report also does not alter the FBI’s position with regard to the

remaining redactions in the First Archey Declaration, as presented in the version of that

declaration filed on April 15, 2019 (Ex. A to Sixth Hardy Decl., ECF No. 81-1). As indicated in

the Sixth Hardy Declaration, those redactions are necessary, regardless of the conclusion of the

Special Counsel’s Office’s investigation, to protect FBI law enforcement interests.
             Case 1:17-cv-01167-JEB Document 84 Filed 05/07/19 Page 2 of 2



        3.      The FBI has reviewed the transcript of the sealed, ex parte proceeding that

occurred in this case on January 22, 2018, and determined that it has no objection to release of

this transcript in full by the Court. The transcript is not classified.

Dated: May 7, 2019                                     Respectfully submitted,
                                                       HASHIM M. MOOPPAN
                                                       Deputy Assistant Attorney General

                                                       MARCIA BERMAN
                                                       Assistant Director, Civil Division

                                                       /s/Carol Federighi
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